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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,                                      :
                                                                :         SUMMARY ORDER
                            -against-                           :
                                                                :     07-CR-543 (DLI)(SMG)
 RUSSELL DEFREITAS,                                             :
          also known as “Mohammed,”                             :
 ABDUL KADIR,                                                   :
          also known as “Aubrey Michael Seaforth,” :
 AND ABDEL NUR,                                                 :
          also known as “Compton Eversley,”                     :
                                                                :
                                     Defendants.                :
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 DORA L. IRIZARRY, United States District Judge:

         By Memorandum & Order dated June 3, 2010, the court reserved decision as to a portion

 of the government’s motion to admit certain evidence against defendant Russell Defreitas

 pursuant to Federal Rule of Evidence 404(b). See United States v. Defreitas, 2010 WL 2292194,

 at *3 (E.D.N.Y. June 3, 2010). Specifically, the court held that it could not evaluate the parties’

 respective arguments without transcripts of the relevant conversations. See id. Both parties

 subsequently submitted, for the court’s review, the transcript of the conversation containing

 Defreitas’ statements about a possible attack on a Jewish school.1 Defreitas stated that he

 opposed the introduction of only the latter portion of this conversation.2




 1
   This transcript is identified as 1D-40 Session 7, recorded on January 9, 2007. (See generally
 Docket Entry No. 290; Docket Entry No. 291, Ex. C.) In its submission, the government also
 proffered that it no longer intends to introduce evidence relating to Defreitas’ travelling under
 false names, transporting of weapons, or committing welfare fraud, rendering that portion of the
 government’s original motion moot. (See Docket Entry No. 290, at 1.)
 2
   (See Docket Entry No. 291, at 2.) Defreitas also submitted two other transcripts containing
 portions of separate conversations that he wished to preclude. (See Docket Entry No. 291, Exs.
 A, B.) As the government has not proffered that it intends to introduce these conversations, and
 has furthermore had no opportunity to respond, Defreitas’ request is denied without prejudice.
                                                            1
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        As an initial matter, having reviewed the disputed portion of this transcript, the court

 concludes that it is not manifestly clear that the evidence contained therein is “intrinsic proof of

 the charged crime,” and accordingly proceeds with a Rule 404(b) analysis. See United States v.

 Nektalov, 325 F. Supp. 2d 367, 372 (S.D.N.Y. 2004). Under this analysis, the government has

 demonstrated both a proper purpose for the proffered evidence, and its relevance to a disputed

 trial issue. However, after carefully reviewing the disputed portion of the transcript in question,

 the court concludes that the risk of undue prejudice substantially outweighs its limited probative

 value. See FED. R. EVID. 403. Regarding the latter, Defreitas’ motive, preparation, and plan for

 attacking JFK may all be demonstrated through other admissible evidence. The risk of undue

 prejudice, in contrast, is high; evidence of Defreitas’ feelings of animus towards those of the

 Jewish faith, and discussions concerning a possible attack on a Jewish school, present a strong

 possibility of “unduly inflame[ing] the passion of the jury, confus[ing] the issues before the jury,

 [and] inappropriately lead[ing] the jury to convict on the basis of conduct not at issue in the

 trial.” United States v. Quattrone, 441 F.3d 153, 186 (2d Cir. 2006). Accordingly, the

 government’s motion to admit certain evidence is DENIED as to the portion of the conversation

 contained between 00:31:22 and 00:33:00 of the transcript.



 SO ORDERED.

 Dated: Brooklyn, New York
        June 24, 2010
                                                                        /s/
                                                              DORA L. IRIZARRY
                                                            United States District Judge




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